             Case 2:15-cr-00392-RAJ Document 67 Filed 09/28/20 Page 1 of 1




 1                                                        The Honorable Richard A. Jones
 2
 3
 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 6
 7    UNITED STATES OF AMERICA,                       NO. CR15-392 RAJ
 8                          Plaintiff,
                                                     ORDER GRANTING MOTION TO
 9                                                   SEAL EXHIBIT 1 TO
                                                     GOVERNMENT’S RESPONSE TO
10                     v.
                                                     DEFENDANT’S MOTION FOR
11                                                   COMPASSIONATE RELEASE
      LAWRENCE MCCOLLUM,                             PURSUANT TO 18 U.S.C.
12
                                                     § 3582(c)(1)(A)
13                          Defendant.
14
15         This matter has come before the Court on the motion to seal Exhibit 1 to

16 Government’s Response to Defendant’s Motion for Compassionate Release Pursuant to 18
17 U.S.C. § 3582(c)(1)(A). The Court has reviewed the motion and records in this case and
18 finds there are compelling reasons to permit the filing under seal of the Exhibit 1 to
19 Government’s Response to Defendant’s Motion for Compassionate Release Pursuant to 18
20 U.S.C. § 3582(c)(1)(A), due to the sensitive information contained therein.
21       IT IS HEREBY ORDERED that the Government’s Motion to Seal (Dkt. #65) is

22 GRANTED. Exhibit 1 to Government’s Response to Defendant’s Motion for
23 Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A) shall remain under seal.
24         DATED this 28th day of September, 2020.

25
26
                                                  A
27                                                The Honorable Richard A. Jones
                                                  United States District Judge
28
     ORDER GRANTING MOTION TO SEAL - 1                               UNITED STATES ATTORNEY
                                                                    700 STEWART STREET, SUITE 5220
     United States v. McCollum, CR15-392 RAJ
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
